Case 21-80505-JJG-7A     Doc 16   Filed 02/22/22   EOD 02/22/22 11:57:31   Pg 1 of 3




                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                           TERRE HAUTE DIVISION

 In re:

 ERIC P. BONESTEEL,                      CASE NO. 21-80505-JJG-7

     Debtor.

   UNITED STATES TRUSTEE’S MOTION FOR AN EXTENSION OF TIME
     TO FILE A MOTION TO DISMISS PURSUANT TO 11 U.S.C. § 707

      Nancy J. Gargula, United States Trustee, by Ronald J. Moore, Assistant

United States Trustee, hereby moves this Court to extend the time to file a

motion to dismiss pursuant to 11 U.S.C. § 707(b). In support of her motion, the

United States Trustee would advise this Court as follows:

      1.       Eric P. Bonesteel (the “Debtor”) filed a Chapter 7 bankruptcy

petition on November 23, 2021.

      2.    The first date set for the meeting of creditors pursuant to 11 U.S.C.

§ 341 was December 21, 2021.

      3.    According to Fed. R. Bankr. P. 1017(e)(1), a motion by the United

States Trustee to dismiss a case pursuant to 11 U.S.C. § 707(b) shall be filed

not later than 60 days following the first date set for the meeting of creditors,

unless, before such time has expired, the court for cause extends this time for

filing the motion.

      4.    Accordingly, the last day to file a motion to dismiss this case under

§ 707(b) is February 22, 2022.
Case 21-80505-JJG-7A    Doc 16   Filed 02/22/22   EOD 02/22/22 11:57:31   Pg 2 of 3




      5.    The United States Trustee has requested, and is awaiting,

amendments from the Debtor to verify Debtor’s testimony at his § 341 meeting

related to additional income which was undisclosed in his original schedules

and Official Form 122A-1.

      6.    The Debtor will automatically be issued a discharge electronically

upon the expiration of the last day to object (“LDO”) to the discharge. Because

entry of the discharge would render any motion to dismiss ineffectual, the

United States Trustee also requests entry of the discharge be delayed as well.

      7.    Based on the foregoing, the United States Trustee requests an

extension of the time within which to file a motion to dismiss to and including

April 25, 2022.

      WHEREFORE, the United States Trustee prays that, pursuant to FRBP

1017(e)(1), the time to file a Motion to Dismiss pursuant to 11 U.S.C. § 707(b)

be extended and the entry of the discharge be delayed for approximately 60

days to and including April 25, 2022, and for such other relief as is just and

proper.

                                     Respectfully submitted,

                                     NANCY J. GARGULA
                                     United States Trustee


                                     By:    /s/ Ronald J. Moore
                                            Ronald J. Moore, AUST
                                            Office of the United States Trustee
                                            Birch Bayh Federal Bldg. and
                                            United States Courthouse
                                            46 E. Ohio St., Room 520
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                                        2
Case 21-80505-JJG-7A     Doc 16   Filed 02/22/22   EOD 02/22/22 11:57:31   Pg 3 of 3




                                             Fax: (317) 226-6356
                                             Ronald.Moore@usdoj.gov


                          CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2022, a copy of the foregoing
UNITED STATES TRUSTEE’S MOTION FOR AN EXTENSION OF TIME TO
FILE A MOTION TO DISMISS PURSUANT TO 11 U.S.C. § 707 was filed
electronically. Notice of this filing will be sent to the following parties through
the Courts Electronic Filing System. Parties may access this filing through the
Courts system.

Lou Ann Marocco - trustee@maroccolawindy.com, lam@trustesolutions.net

B. Scott Skillman - skillmandefensefirm@gmail.com,
G1546@notify.cincompass.com

       I further certify that on February 22, 2022, a copy of the foregoing
UNITED STATES TRUSTEE’S MOTION FOR AN EXTENSION OF TIME TO
FILE A MOTION TO DISMISS PURSUANT TO 11 U.S.C. § 707 was mailed by
first-class U.S. Mail, postage prepaid, and properly addressed to the following:

Eric P Bonesteel
374 West Adams Street
Cayuga, IN 47928


                                      /s/ Ronald J. Moore
                                      Ronald J. Moore
                                      Assistant U.S. Trustee




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